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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

JELENA LIU,                                  )
                                             )
               Plaintiff,                    )
                                             )
               v.                            )
                                             ) Cause No. 1:25-cv-716-JPH-TAB
KRISTI NOEM, U.S SECRETARY OF                )
HOMELAND SECURITY, et al.,                   )
                                             )
               Defendants,                   )
                                             )

                                           ANSWER

       The Defendants the United States Secretary of Homeland Security, in her official

capacity, and the Acting Director of United States Immigration and Customs Enforcement, in his

official capacity, respectfully respond to the Plaintiff’s First Amended Complaint for Declaratory

and Injunctive Relief as follows:

                                      INTRODUCTION

       1.      The Defendants state that Plaintiff’s Paragraph 1 is a summary of Plaintiff’s legal

arguments to which to response it required. To the extent a response is required, the Defendants

deny the allegations in Paragraph 1 and deny that they violated federal regulations, which speak

for themselves.

       2.      The Defendants state that Plaintiff’s Paragraph 2 is a summary of Plaintiff’s legal

arguments to which to response it required. To the extent a response is required, the Defendants

admit that a person’s F-1 visa does not control their lawful presence in the United States and

deny that they revoked Plaintiff’s F-1 visa. The Defendants lack sufficient information or belief


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to admit or deny the remaining allegations set forth in Paragraph 2 and therefore deny them.

       3.        The Defendants state that Plaintiff’s Paragraph 3 is a summary of Plaintiff’s

legal arguments to which to response it required. To the extent a response is required, the

Defendants deny that they revoked the Plaintiff’s F-1 visa and deny that any change in her

SEVIS status is a final agency action under the Administrative Procedure Act. The Defendants

further deny that they violated federal regulations or Plaintiff’s constitutional rights. The

Defendants deny that the Plaintiff is entitled to relief against the Defendants.

                                JURISDICTION AND VENUE

       4.      Defendants deny that this Court has jurisdiction over this lawsuit because there

has been no final agency action under the Administrative Procedure Act; the Plaintiff fails to

state a claim upon which relief may be granted; and some or all of the Plaintiff’s requested relief

may not be brought in this Court.

       5.      Denied.

       6.      The Defendants admit that based on the allegations in the First Amended

Complaint, venue is proper.

                                            PARTIES

       7.      The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 7 and therefore deny them.

       8.      The Defendants admit that Kristi Noem is currently the Secretary of the

Department of Homeland Security and the First Amended Complaint purports to sue her in her

official capacity only.

       9.      The Defendants admit that Todd Lyons is currently the Acting Director of United


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States Immigration and Customs Enforcement and the First Amended Complaint purports to sue

him in his official capacity only.

                                     LEGAL BACKGROUND

       10.     The Defendants state that the cited statute speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 10 that are inconsistent with the statute.

       11.     The Defendants admit that Congress has required the Department of Homeland

Security, in consultation with the Secretary of State and the Secretary of Education, to develop

and conduct a program to collect certain information from approved institutions of higher

education, other approved educational institutions, and designated exchange visitor programs in

the United States. The Defendants deny any remaining allegations in Paragraph 11.

       12.     Admitted.

       13.     The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 13 that are inconsistent with the regulation.

       14.     The Defendants state that the applicable regulation speaks for itself and no

response is required. To the extent a response is required, Defendants deny any allegations set

forth in Paragraph 14 that are inconsistent with the regulation.

       15.     The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 15 that are inconsistent with the regulation.

       16.     The Defendants state that the cited regulation speaks for itself and no response is


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required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 16 that are inconsistent with the regulation.

       17.    The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 17 that are inconsistent with the regulation.

       18.    The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 18 that are inconsistent with the regulation.

       19.    The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 19 that are inconsistent with the regulation.

       20.    The Defendants state that the applicable regulation speaks for itself and no

response is required. To the extent a response is required, Defendants deny any allegations set

forth in Paragraph 20 that are inconsistent with the regulation.

       21.    The Defendants state that the applicable regulations speak for themselves and no

response is required. To the extent a response is required, Defendants deny any allegations set

forth in Paragraph 21 that are inconsistent with the regulations.

       22.    The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 22 that are inconsistent with the regulation.

       23.    The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in


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Paragraph 23 that are inconsistent with the regulation.

        24.   The Defendants state that terminating a record in SEVIS does not terminate an

individual’s nonimmigrant status in the United States. The Defendants deny any remaining

allegations in Paragraph 24.

        25.   The Defendants state that the cited regulation speaks for itself and no response is

required. To the extent a response is required, Defendants deny any allegations set forth in

Paragraph 25 that are inconsistent with the regulation.

        26.   The Defendants state that 8 U.S.C. § 1229a sets for the statutory process for

removal proceedings and speaks for itself. To the extent a further response is required,

Defendants deny any allegations set forth in Paragraph 26 that are inconsistent with the statute.

        27.   The Defendants state that 8 U.S.C. § 1229a sets for the statutory process for

removal proceedings and speaks for itself. To the extent a further response is required,

Defendants deny any allegations set forth in Paragraph 27 that are inconsistent with the statute.

        28.   Admitted.

        29.   Admitted.

        30.   The Defendants state that 8 U.S.C. § 1229a sets for the statutory process for

removal proceedings and speaks for itself. To the extent a further response is required,

Defendants deny any allegations set forth in Paragraph 30 that are inconsistent with the statute.

        31.   The Defendants state that Paragraph 31 is a hypothetical to which no response is

required. To the extent a response is required, the Defendants deny that they revoked the

Plaintiff’s F-1 visa and further deny that removal proceedings have been initiated against the

Plaintiff.


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       32.    Denied.

                                   FACTUAL ALLEGATIONS

       33.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 33 and therefore deny them.

       34.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 34 and therefore deny them.

       35.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 35 and therefore deny them.

       36.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 36 and therefore deny them.

       37.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 37 and therefore deny them.

       38.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 38 and therefore deny them.

       39.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 39 and therefore deny them.

       40.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 40 and therefore deny them.

       41.    The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 41 and therefore deny them.

       42.    Denied. The Defendants state that the Plaintiff’s SEVIS record has been

reinstated.


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       43.     The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 44 and therefore deny them.

       44.     The Defendants lack sufficient information or belief to admit or deny the

allegations set forth in Paragraph 44 and therefore deny them.

       45.     Denied.

                                        LEGAL CLAIMS

       46.     The Defendants state that Plaintiff’s Paragraph 46 is a summary of Plaintiff’s

legal arguments to which to response it required. To the extent a response is required, the

Defendants deny that they revoked the Plaintiff’s F-1 visa and deny that any change in her

SEVIS status is a final agency action under the Administrative Procedure Act. The Defendants

further deny that they acted in an arbitrary and capricious manner, that they violated federal

statute or regulations, or that they violated Plaintiff’s constitutional rights. The Defendants deny

that the Plaintiff is entitled to relief against the Defendants.

       47.     The Defendants state that Plaintiff’s Paragraph 47 is a summary of Plaintiff’s

legal arguments to which to response it required. To the extent a response is required, the

Defendants deny that they revoked the Plaintiff’s F-1 visa and deny that any change in her

SEVIS status is a final agency action under the Administrative Procedure Act. The Defendants

further deny that they acted in an arbitrary and capricious manner, that they violated federal

statute or regulations, or that they violated Plaintiff’s constitutional rights. The Defendants deny

that the Plaintiff is entitled to relief against the Defendants.




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                                   REQUEST FOR RELIEF

       The Defendants deny that the Plaintiff is entitled to the requested relief or that they

violated the Administrative Procedure Act or the Fifth Amendment.

                                           DEFENSES

       1.      The Court lacks subject matter jurisdiction over Plaintiff’s claims.

       2.      The Amended Complaint fails to state a claim upon which relief can be granted.

       3.      The Plaintiff is not entitled to declaratory or injunctive relief as the controversy is

not ripe for judicial review.

       4.      The Plaintiff is not entitled to injunctive relief as she has an adequate remedy at

law and has not suffered irreparable injury.

       5.      The Plaintiff is not entitled to costs or any other monetary relief.

       6.      Any action taken by the Defendants was not arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.

       WHEREFORE, having fully answered Plaintiff’s Amended Complaint, Defendants

respectfully request that the Amended Complaint be dismissed with prejudice, that judgment be

entered in Defendants’ favor and against Plaintiff, and for all other relief as this Court deems just

and proper.

                                              Respectfully submitted,

                                              JOHN E. CHILDRESS
                                              Acting United States Attorney


                                        By:    s/ Shelese Woods
                                              Shelese Woods
                                              Assistant United States Attorney


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                                CERTIFICATE OF SERVICE

       This is to certify that on April 30, 2025, I have served a copy of the foregoing upon the

Plaintiff herein by filing a copy of the foregoing electronically through the Court’s CM/ECF

system and it will be electronically served on all counsel of record.




                                                      s/ Shelese Woods
                                                     Shelese Woods
                                                     Assistant United States Attorney


Office of the United States Attorney
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